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 4                          UNITED STATES DISTRICT COURT
 5                         EASTERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,             )    1:09-cr-0298 OWW
                                           )
 8                       Plaintiff,        )    ORDER RE: REQUESTS OF
                                           )    DEFENDANT
 9        v.                               )
                                           )
10   DONALD MONACO,                        )
                                           )
11                       Defendant.        )
                                           )
12                                         )
13
14        The Court has received numerous communications from
15   Defendant, Donald Monaco, in this case, 1:09-cr-0298 OWW.
16        As with all federal sentencing cases, the Court lost
17   jurisdiction seven days after the entry of judgment of
18   conviction.    The requests of Defendant are therefore DENIED
19   without prejudice.       The alternate request for a recommendation to
20   the Federal Penal institution of Lompoc, California shall be
21   added to the recommended designation of institution.           Copies of
22   these letters shall be provided to the United States Attorney,
23   Kim Sanchez, Esq. and defense counsel, Carl Faller, Esq.
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25   IT IS SO ORDERED.
26   Dated: August 19, 2011                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
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